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                                        Exhibit A

                                     Proposed Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                           )
    In re:                                                 )     Chapter 7
                                                           )
    START MAN FURNITURE, LLC, et al.,1                     )     Case No. 20-10553 (CTG)
                                                           )
                                Debtors.                   )     (Jointly Administered)
                                                           )     Ref. Docket No. ____

                           ORDER AUTHORIZING TRUSTEE TO
                      EXECUTE FAA TERMINATIONS AND DISCLAIMERS
                                                                             2
                   Upon consideration of the motion (the “Motion”) of Alfred T. Giuliano, chapter 7

trustee (the “Trustee”) to the estates of the above-captioned debtors (the “Debtors”), for the entry

of an order, under sections 105 and 363(b) of the Bankruptcy Code, authorizing the Trustee to

execute the FAA Terminations and Disclaimers, as more fully set forth in the Motion; and the

United States District Court for the District of Delaware having jurisdiction over this matter

pursuant to 28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157 pursuant to

the Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and the Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that it may enter a final order

consistent with Article III of the United States Constitution; and the Court having found that venue

of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;



1
      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
      include: Start Man Furniture, LLC (f/k/a Art Van Furniture, LLC) (9205); SVF Holding Company, Inc. (f/k/a
      AVF Holding Company, Inc.) (0291); SVCE, LLC (f/k/a AVCE, LLC) (2509); StartVF Holdings I, LLC (f/k/a
      AVF Holdings I, LLC) (2537); StartVF Holdings II, LLC (f/k/a AVF Holdings II, LLC) (7472); SVF Parent,
      LLC (f/k/a AVF Parent, LLC) (3451); Levin Parent, LLC (8052); Start Man Furniture of Canada, LLC (f/k/a Art
      Van Furniture of Canada, LLC) (9491); SV Sleep Franchising, LLC (f/k/a AV Pure Sleep Franchising, LLC)
      (8968); SVF Franchising, LLC (f/k/a AVF Franchising, LLC) (6325); LF Trucking, Inc. (1484); Sam Levin, Inc.
      (5198); and Comfort Mattress LLC (4463).
2
      Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.


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and due and adequate notice of the Motion having been given under the circumstances and no

further notice need be given; and the Court having determined that the legal and factual bases set

forth in the Motion establish just cause for the relief granted herein; and upon all of the proceedings

had before the Court; and after due deliberation and sufficient cause appearing therefor;

                   IT IS HEREBY ORDERED THAT:

                   1.           The Motion is GRANTED as set forth herein.

                   2.           The Trustee is authorized, but not directed, to execute the FAA

Terminations and Disclaimers.

                   3.           The Trustee is authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

                   4.           The Court retains jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




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